          Case 5:19-cv-00834-DAE Document 22 Filed 01/20/20 Page 1 of 4




                         UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION

MALIBU MEDIA, LLC,                           )
                                             )
        Plaintiff,                           ) Civil Action Case No. 5:19-CV-00834-DAE
                                             )
v.                                           )
                                             )
JOHN DOE,                                    )
                                             )
        Defendant.                           )
                                             )

                         SCHEDULING RECOMMENDATIONS


        The parties recommend that the following deadlines be entered in the

scheduling order to control the course of this case:


     1. A report on alternative dispute resolution in compliance with Local Rule CV-

 88 shall be filed by March 9, 2020.

     2. The parties asserting claims for relief shall submit a written offer of settlement

to opposing parties by February 10, 2020, and each opposing party shall respond, in

writing, by February 24, 2020.

     3. The parties shall file all motions to amend or supplement pleadings or to join

additional parties by March 2, 2020.
          Case 5:19-cv-00834-DAE Document 22 Filed 01/20/20 Page 2 of 4




   4. All parties asserting claims for relief shall file their designation of potential

witnesses, testifying experts, and proposed exhibits by no later than 45 days before

the date set for the start of trial. Parties resisting claims for relief shall file their

designation of potential witnesses, testifying experts, and proposed exhibits by no

later than 30 days before the date set for the start of trial.

       A party having the burden of proof on an issue shall disclose any potential

testifying expert on that issue and serve but not file the materials required by FED.

R. CIV. P. 26(a)(2)(B) by three (3) months prior to the close of discovery. All

disclosures of rebuttal experts and service of the materials required by F ED. R. CIV.

P. 26(a)(2)(B) shall be within thirty (30) days of service of the report of the opposing

expert.

   5. An objection to the reliability of an expert's proposed testimony under Federal

Rule of Evidence 702 shall be made by motion, specifically stating the basis for the

objection and identifying the objectionable testimony, within twenty-one (21) days

of receipt of the written report of the expert's proposed testimony, or within twenty-

one 21) days of the expert's deposition, if a deposition is taken, whichever is later.

   6. The parties shall complete all discovery on or before October 20, 2020.

Counsel may by agreement continue discovery beyond the deadline, but there will

be no intervention by the Court except in extraordinary circumstances, and no trial

setting will be vacated because of information obtained in post-deadline discovery.


                                             2
        Case 5:19-cv-00834-DAE Document 22 Filed 01/20/20 Page 3 of 4




   7. All dispositive motions shall be filed no later than November 23, 2021.

Dispositive motions as defined in Local Rule CV-7(c) and responses to dispositive

motions shall be limited to twenty (20) pages in length. Replies, if any, shall be

limited to ten (10) pages in length in accordance with Local Rule CV-7(e). If the

parties elect not to file dispositive motions, they must contact the courtroom

deputy on or before this deadline in order to set a trial date.

   8. The hearing on dispositive motions will be set by the Court after all responses

and replies have be filed.

   9. The trial date will be determined at a later date by the Court. The parties shall

consult Local Rule CV-16(e)-(g) regarding matters to be filed in advance of trial. At

the time the trial date is set, the Court will also set the deadline for the filing of

matters in advance of trial.

   10. All of the parties who have appeared in the action conferred concerning the

contents of the proposed scheduling order on January 20, 2020, and the parties have

agreed as to its contents. The following positions and reasons are given by the parties

for the disagreement as to the contents of the proposed scheduling order. Plaintiff

offers the following explanation of why all parties have not been served.




                                           3
         Case 5:19-cv-00834-DAE Document 22 Filed 01/20/20 Page 4 of 4




Dated: January 20, 2020             Respectfully submitted,

By: /s/JT Morris                    By: /s/ Paul S. Beik
JT Morris                           PAUL S. BEIK
Texas Bar No. 24094444              Texas Bar No. 24054444
jt@jtmorrislaw.com                  BEIK LAW FIRM, PLLC
Ramzi Khazen                        8100 Washington Ave., Suite 1000
Texas Bar No. 24040855              Houston, TX 77007
ramzi@jtmorrislaw.com               T: 713-869-6975
JT Morris Law, PLLC                 F: 713-868-2262
1105 Nueces Street, Suite B         E-mail: paul@beiklaw.com
Austin, Texas 78701
Tel: 512-717-5275                   ATTORNEY FOR PLAINTIFF
Fax: 512-582-2948

ATTORNEYS FOR DEFENDANT




                                       4
